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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  AMY WEXLER and KENNETH WEXLER.,                   )
                                                    )
               Plaintiffs,                          )
                                                    )    No. 21-cv-2543
                             v.                     )
                                                    )    Magistrate Judge Keri L. Holleb Hotaling
  CHUBB NATIONAL INSURANCE CO.,                     )
  and BELFOR USA GROUP, INC,                        )
                                                    )
                Defendants,                         )
                                                    )
  and                                               )
                                                    )
  CHUBB NATIONAL INSURANCE CO.,                     )
                                                    )
               Counterclaim Plaintiff,              )
                                                    )
                              v.                    )
                                                    )
  AMY WEXLER and KENNETH WEXLER.,                   )
                                                    )
               Counterclaim Defendants.             )

                             MEMORANDUM OPINION AND ORDER

        On May 30, 2024, the Court dismissed Counts VII and X of the Second Amended Complaint

(“SAC”) filed by Plaintiffs Amy Wexler and Kenneth Wexler (collectively, “Plaintiffs” or “the

Wexlers”) [Dkt. 171]. On August 29, 2024, the Court clarified that these two Counts were dismissed

without prejudice [Dkt. 191]. The Court also noted that while it disfavored another motion to amend

the pleadings at this late stage of the litigation, Plaintiffs were allowed to seek such leave to amend

their complaint via motion that “explain[ed] the necessity of any proposed amendments and how

those amendments cure the deficiencies of the prior complaints” and provided the Court with “a

redline version showing changes from the SAC” [Id]. On September 24, 2024, the Wexlers filed their

motion for leave to file their proposed Third Amended Complaint (“TAC”) [Dkt. 199]. Oppositions

to that motion have been filed by both Defendant Chubb National Insurance Company Co. (“Chubb”)
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[Dkt. 211] and Defendant Belfor USA Group Inc. (“Belfor”) [Dkt. 212]. Having been fully briefed

on the issues, the Wexlers’ Motion for Leave to File Third Amended Complaint [Dkt. 199] is hereby

DENIED for the reasons set forth below.

   I.     Legal Standard

         The right to amend a complaint is not absolute, In re Ameritech Corp., 188 F.R.D. 280, 282

(N.D. Ill. 1999), but is discretionary. Fed. R. Civ. P. 15(a)(2). The Court has “broad discretion to deny

leave to amend where there is undue delay, bad faith, dilatory motive, repeated failure to cure

deficiencies, undue prejudice to the defendants, or where the amendment would be futile.” Standard

v. Nygren, 658 F.3d 792, 797 (7th Cir. 2011); Arreola v. Godinez, 546 F.3d 788, 796 (7th Cir. 2008);

Holmes v. DeJoy, No. 22-cv-1383, 2023 WL 3792409, at *2 (N.D. Ill. June 2, 2023); Craigville

Telephone Co. v. T-Mobile USA, Inc., No. 19-cv-7190, 2023 WL 3727916, at 3-4 (N.D. Ill. May 30,

2023) (declining amendment of complaint due to the age of the case and the election of moving party

to not cite any discovery obtained over the years in support of proposed amendments); Porch v. Univ.

of Ill. at Chi., Sch. of Med., No. 21-cv-3848, 2023 WL 5058095, at *2 (N.D. Ill. July 7, 2023) (denial

of leave to file amended complaint appropriate where court considered both redline and clean versions

of proposed amended complaint and the factual allegations presented for alleged support, and rejected

those factual allegations as insufficient). Additionally, “waiting until the close of discovery to file a

motion for leave to amend is generally not preferred.” Kirsch v. Brightstar Corp., No. 12-cv-6966,

2014 WL 5166527, at *5 (N.D. Ill. Oct. 10, 2014).

   II.    Discussion

            a. Counts other than Count VII and X

   As an initial matter, the Wexlers have made myriad changes to counts other than the two counts

the Court dismissed on May 30, 2024 - Counts VII (against Chubb for tortious interference with

contract) and X (against both Chubb and Belfor for civil conspiracy) of the SAC [Dkt. 171]. Plaintiffs


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will not be permitted to make those amendments at this time and must rely on the allegations in other

counts as they were drafted in the SAC. Not only did the Court specify that any motion for leave to

amend should detail “how [the Wexlers’ proposed] amendments cure the deficiencies of prior

complaints” [Dkt. 191 at 12 (emphasis added)] but notice pleading requirements in federal court are

simply intended to “give the defendant fair notice of what the claim is and the grounds upon which it

rests” and the language in the other counts has already passed muster by surviving the most recent

motion to dismiss. Walker v. Gatsios, No. 19-cv-6072, 2024 WL 4476118, at *1 (N.D. Ill. Oct. 11,

2024) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

           b. Count VII – Tortious Interference with Contract Against Chubb

       A prima facie claim of tortious interference with contract requires proof of five elements:

“(1) the existence of a valid and enforceable contract between the plaintiff and a third party;

(2) defendant’s awareness of the contract; (3) defendant’s intentional and unjustified inducement

of a breach; (4) defendant’s wrongful conduct caused a subsequent breach of the contract by a third

party; and (5) damages.” Sterling Fire Restoration, Ltd. v. Wachovia Bank N.A., No. 12-cv-3530,

2012 WL 4932845, at *5 (N.D. Ill. Oct. 16, 2012) (emphasis added) (quoting Echo, Inc. v. Timberland

Machs. & Irrigation, Inc., 661 F.3d 959, 968 (7th Cir. 2011)).

       The binding precedent in this District is clear: a tortious interference claim must be dismissed

if there are no fact specific allegations that defendant has actual knowledge of the terms of the contract

at issue. In re Douglas Dunhill, Inc., 22 B.R. 953, 957 (N.D. Ill. 1982) (failure to establish a party

knew of the contract or of the contract’s terms requires dismissal of tortious interference claim);

Brinley Holdings, Inc. v. RSH Aviation, Inc., 580 F. Supp. 3d 520, 540 (N.D. Ill. 2022) (absent

evidence the offending party had knowledge of the contract and its terms, a claim must be dismissed).

As the Court noted when ruling on the motions to dismiss the SAC, conclusory allegations are not

sufficient to support a claim; a tortious interference claim cannot be maintained without the requisite


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factual support. Pillows v. Cook County Recorder of Deeds Office, No. 18-cv-7497, 2019 WL

2524149, at *3 (N.D. Ill. June 18, 2019); Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Moreover, the

allegations must demonstrate a party has actual knowledge of the terms of the contract at issue; lack

of knowledge of the contract’s terms is fatal to an alleged tortious interference claim. Brinley

Holdings, 580 F. Supp. 3d at 540 (absent evidence the offending party had knowledge of the contract

and its terms, a claim must be dismissed). Further, the use of the phrase that a party “knew or should

have known” is clear evidence an allegation is conclusory and cannot withstand a motion to dismiss.

Greer v. Advanced Equities, Inc., 683 F. Supp. 2d 761, 775-76 (N.D. Ill. 2010) (allegations in

complaint insufficient because repeated use of claim defendant “knew or should have known” is

conclusory and not sufficient to withstand challenge); Blenheim Grp., LLC v. Golf Gifts & Gallery,

Inc., No. 11-cv-899, 2011 WL 5373992 (N.D. Ill. Nov. 4, 2011) (merely asserting a defendant knew

or should have known is insufficient to withstand a motion to dismiss and is clear evidence of a

conclusory allegation); LoggerHead Tools, LLC v. Sears Holding Corp., 19 F. Supp. 3d 775, 785

(N.D. Ill. 2013); Pillows v. Cook Cty. Recorder of Deeds Off., No. 18-cv-7497, 2019 WL 2524149,

at *3 (N.D. Ill. June 18, 2019) (same).

       Here, Plaintiffs again seek to add a claim Chubb interfered with Plaintiffs’ contract with

Belfor. Yet, as in the SAC, the proposed TAC still fails to allege or provide any support that Chubb

was provided with a copy of the Work Authorization between Plaintiffs and Belfor, or that Chubb

was aware of the contract’s provisions. Brinley, 580 F. Supp. 3d at 540; Douglas Dunhill, 22 B.R. at

957 (failure to establish that a party knew of the contract or of the contract’s terms subjects a tortious

interference claim’s dismissal). In fact, Plaintiffs even admit that the TAC “does not allege that Chubb

received a copy of the Work Authorization” [Dkt. 199 at 2].

       Plaintiffs aver that the law does not require Chubb to have received the contract to have been

“aware” of its terms [Id. at 2-3]. Plaintiffs argue that it is enough


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           that Chubb knew or should have known that Belfor and the Wexlers entered into
           a contract; that as a matter of practice, mold remediation protocols were parts of
           contracts in these circumstances; and that Chubb received the Mold Remediation
           Protocol, meaning that Chubb knew the material terms of the contract.

[Id. at 3]. However, it is not enough for Plaintiffs to add conclusory “knew or should have known”

language that amounts to nothing more than Plaintiffs’ suspicions Chubb simply must have known. 1

The Court cannot fathom how Chubb could have – much less should have – known of the terms of a

contract it never received, and the proposed TAC (and all prior versions of the Complaint) is devoid

of any explanation for Plaintiffs’ strong speculation on this point. This is a 2021 case where discovery

has been ongoing for some three plus years now, yet Plaintiffs can make no more concrete allegations

that Chubb had actual knowledge of the contract between Plaintiffs and Belfor than they could at the

inception of this case. Plaintiffs now ask the Court for leave to allow it to file their fourth version of

Count VII of a complaint rife with impermissible supposition instead of the necessary facts. It is

simply not proper for the Court to allow the proposed amendments to Count VII of the Complaint

when the amendments would not cure the defects of the SAC.

        Finally, although Plaintiffs devote Paragraph 179 of the proposed TAC to an explanation of

how Count VII is not preempted, the Court will not reach this issue here because there are no facts

that can be currently alleged that would allow Plaintiffs to plead a prima facie claim of tortious

interference. Sterling Fire, 2012 WL 4932845, at *5 (N.D. Ill. Oct. 16, 2012).

        Thus, the Court will not allow Plaintiffs leave to file Count VII of their proposed Third

Amended Complaint.

             c. Count X - Civil Conspiracy Against Chubb and Belfor

        In Count X of the proposed TAC, Plaintiffs allege a claim of civil conspiracy against both




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    Although proposed Paragraph 161 [Dkt. 199-2 at 42] does allege that “Chubb knew of a contract between Belfor and
the Wexlers and was made aware of its material terms,” the remainder of the paragraph (along with other proposed
paragraphs of this Count) only speculates that Chubb must have known about the contract because of certain admissions.
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Chubb and Belfor. Under a civil conspiracy theory, there must be an agreement by two parties to

knowingly and voluntarily participate in a common scheme to perform an unlawful act or perform a

lawful act in an unlawful manner. Gros v. Midland Credit Mgmt., 525 F. Supp. 2d 1019, 1028-29

(N.D. Ill. 2007). A party is “required to allege with specific facts an agreement between [two parties]

and a tortious act committed in furtherance of that agreement.” Indeck N. Am. Power Fund, L.P. v.

Norweb PLC, 316 Ill. App. 3d 416, 432 (2000) (emphasis added); Gros, 525 F. Supp. 2d at 1028-29;

Nat’l All. of Wound Care, Inc. v. Morgan, 2020 IL App (3d) 190691, ¶ 49; Law Offices of David

Freydin, P.C. v. Chamara, 24 F.4th 1122, 1133 (7th Cir. 2022).

         Plaintiffs allege that Chubb and Belfor “entered into a conspiratorial agreement by which they

agreed to limit the amount of work performed at the Home” and that Chubb and Belfor’s respective

goals under this agreement “were for Chubb to pay as little as possible and for Belfor to be paid”

[Dkt. 199-1 at ¶¶ 202, 204].

         On the other hand, Plaintiffs allege facts in their proposed TAC in direct conflict with this

alleged “agreement” to limit work at Plaintiffs’ home, namely that Chubb confirmed that Belfor

should proceed with the mold remediation with no limitations, exceptions, or exclusions to the scope

of work or services [see Dkt. 199-2 at ¶¶ 61, 170; Dkt. 211 at 9]. Additionally, Plaintiff’s proposed

TAC admits that Belfor – not Chubb – knew it was solely responsible for the mold remediation work

at the home [Dkt. 199-2 at ¶ 164; Dkt. 211 at 9-10; Dkt. 212 at 4]. Belfor adds to these facts by noting

that the work authorization itself entitled Belfor to payment from Plaintiffs if Chubb did not pay

[Dkt. 212 at 4 (referencing Dkt 199-2 at Ex. 6)]. Finally, for completeness under Federal Rule of

Evidence 106, 2 and to provide appropriate context to some of Plaintiff’s newly proposed allegations



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   Fed. R. Evid. 106 “is an expression of the rule of completeness….The rule is based on two considerations. The first is
the misleading impression created by taking matters out of context. The second is the inadequacy of repair work when
delayed to a point later in the trial.” Advisory Comments to Fed. R. Evid. 106. While both considerations apply here, the
Court was careful not to take Plaintiffs’ allegations in the TAC out of their broader context.

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in the TAC that rely on certain deposition testimony, the Court also considered the deposition

testimony of Mr. Daniel Correa (attached to Chubb’s response brief), who initially handled Plaintiffs’

mold remediation project on behalf of Belfor. Mr. Correa confirmed that Plaintiffs – not Chubb –

were Belfor’s clients [Dkt. 211 at Ex. A at 21:8-12, 63:6-22, 64:8-15]. Mr. Correa also confirmed that

Plaintiffs – not Chubb – ultimately decided what work should be performed by Belfor [Id. at 21:13-

17]. Finally, Mr. Correa confirmed it was Belfor – not Chubb – that was solely responsible for

implementing the mold remediation protocol [Id. at 67:9-11].

       Despite the allegations of the proposed TAC, the Court still finds Plaintiffs offer no plausible

factual support to show the existence of an agreement between Belfor and Chubb. Indeck, 316 Ill.

App. 3d at 432 (“[c]haracterizing a combination of acts as a conspiracy is insufficient to withstand a

motion to dismiss.”); Buckner v. Atl. Plant Maint., Inc., 182 Ill. 2d 12, 23 (2d Dist. 1998) (“mere

characterization of a combination of acts as a conspiracy is insufficient to withstand a motion to

dismiss” and conclusory allegations a conspiracy occurred, without any factual support, must result

in dismissal of civil conspiracy claim).

       Additionally, the Court notes the addition of new allegations characterizing Belfor’s purported

negligence as “willful and wanton” [Dkt. 199-2, at ¶ 199 (incorporating the newly-pled – but

disallowed – “willful and wanton” allegations of Count V at ¶¶ 131 and 140)] cannot rescue Count X.

As explained in Section II(a) supra, the effort to add new allegations to Counts other than Counts VII

and X is improper at this juncture. Moreover, nowhere in their motion to amend do Plaintiffs contend

or explain how the “willful and wanton” characterization would cure the deficiencies of Count X. In

fact, it would not; the “willful and wanton” language cannot save the newly proposed Count X of the

TAC. Illinois law does not recognize a separate action for “willful and wanton” conduct; rather, such

allegations equate to “aggravated negligence.” West Bend Mutual Ins. Co. v. Comm. Unit Sch. Dist.

300, 193 N.E.3d 266, 276-77 (Ill. App. Ct. 2021). There are two types of such claims: “intentional”


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and “reckless.” Id. Plaintiffs do not contend Belfor had actual intent to cause them harm, leaving

“reckless” as the only possible claim. But a claim based on “recklessness” still requires an “utter

indifference to or conscious disregard for the welfare of the plaintiff,” id. at 277 (quoting Kirwan v.

Lincolnshire-Riverwoods Fire Protection Dist., 811 N.E.2d 1259 (Ill. App. Ct. 2004)), and Plaintiffs

offer no such non-conclusory allegations here. Pillows, 2019 WL 2524149, at *3 (conclusory

allegations insufficient to support a claim). The only conduct characterized as “knowing, willful and

wanton” in the (improper and disallowed) amended Count V concerns conduct occurring before the

work authorization was signed [Dkt. 199-2, at ¶ 131] and, thus, the alleged “knowing, willful and

wanton” conduct has nothing to do with the purported civil conspiracy that supposedly occurred after

the work authorization was signed.

       Thus, the Court cannot allow Plaintiffs leave to file Count X of their proposed Third Amended

Complaint.

             d. Prejudice to Chubb and Belfor

       Finally, the Court may deny the filing of an amended complaint when it finds the amendment

would cause undue prejudice to the defendants. Nygren, 658 F.3d at 797. As Belfor correctly points

out [Dkt. 212 at n. 4], Plaintiffs’ delay is particularly inexplicable because Plaintiffs have possessed

the documents upon which the TAC relies for years, and the most recent deponents were Plaintiffs

themselves. Thus, no evidence is new to Plaintiffs. Craigville, 2023 WL 3727916, at 3-4 (declining

leave to amend complaint due in part to moving party failing to cite discovery obtained over the years

in support of proposed amendments); see also, Ameritech Corp., 188 F.R.D. at 284 (denying motion

to amend complaint where party “failed to meet its burden of showing some valid reason for delay”).

       Finally, permitting the new allegations, which Belfor alleges contradict Plaintiffs’ prior

testimony [Dkt. 212 at n. 1], would indeed require reopening fact discovery (both Defendants cite the

need to redepose Amy and Ken Wexler, and Chubb cites a need to redepose representatives of Belfor


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[Dkt. 211 at 12; Dkt. 212 at n. 4]), and impact Belfor’s pending motion for partial summary judgment

[Dkt. 192]. Thus, the trial set for March 2025 would have to be moved to at least the Summer of 2025

to accommodate completion of fact discovery, additional expert and rebuttal reports, expert

depositions, and dispositive motions, and would likely need to be moved further due to the Court’s

calendar. This is certainly a huge impact on both the parties and the Court so many years into this

litigation, and this factor further bolsters the Court’s decision to disallow Plaintiffs leave to file their

proposed TAC.

    III. Conclusion

        In conclusion, Plaintiffs’ Motion for Leave to File Third Amended Complaint [Dkt. 199] is

DENIED. The jury trial in this matter remains set for March 3, 2025 through and including March

13, 2025 [Dkt. 198]. A telephonic status hearing is set for January 16, 2025 at 9:30 a.m. to set all

remaining pretrial dates, including the date of the pretrial conference. The call in information is

855-244-8681, and the participant access code is 2315 0911 461#. Additionally, by NOON on January

14, 2025, the parties are to file a joint proposed schedule for all remaining pretrial dates so the Court

may prepare for the January 16, 2025 hearing.




ENTERED: January 10, 2025                                _______________________________
                                                            Hon. Keri L. Holleb Hotaling,
                                                            United States Magistrate Judge




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